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                            IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA,

               Plaintiff,

       v.                                                      Civ. No. 1:20-cv-00454-SWS-MLC

$9,950.00 IN UNITED STATES CURRENCY,

$2,000.00 IN UNITED STATES CURRENCY,

$1,243.00 IN UNITED STATES CURRENCY,

               Defendants-in-rem.


               VERIFIED DECLARATION OF NON-MILITARY SERVICE

       Upon information and belief, neither the Defendant nor any Claimants are a person in the

military service of the United States of America or her allies, has been ordered to appear for

induction, or is entitled to any of the benefits of the Soldiers’ and Sailors’ Civil Relief Act of

1940, as amended to date.


                                                      Respectfully submitted,

                                                       JOHN C. ANDERSON
                                                       United States Attorney

                                                       Electronically filed November 19, 2020
                                                       STEPHEN R. KOTZ
                                                       Assistant U.S. Attorney
                                                       P.O. Box 607
                                                       Albuquerque, NM 87103-0607
                                                       (505) 346-7274
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                                   28 U.S.C. 1746 DECLARATION



       I am an Assistant United States Attorney for the District of New Mexico who has read the

Declaration of Non-Military Service; and the statements contained in the Declaration are true to

the best of my knowledge and belief.


       I declare under penalty of perjury under the laws of the United States that this

Declaration is true and correct.



       DATED: 11/19/2020                                    /s/
                                                     STEPHEN R. KOTZ
                                                     Assistant U.S. Attorney
